Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 1 of 9 PageID #: 3081




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                          Case No.: 1:17CR32-31
                                              (JUDGE KEELEY)

  JAYLA SHADE,

                      Defendant.


                        REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

         This matter has been referred to the undersigned Magistrate Judge by the

   District Court for purposes of conducting proceedings pursuant to Federal Rule of

   Criminal Procedure 11 (ECF. No. 769). Defendant, Jayla Shade, in person and by

   counsel, Scott S. Radman, appeared before me on December 21, 2017. The

   Government appeared by Assistant United States Attorney, Zelda E. Wesley. The

   Court determined that Defendant was prepared to enter a plea of "Guilty" to Count

   Fifty-Three of the Indictment.

         The Court proceeded with the Rule 11 proceeding by first placing Defendant

   under oath and inquiring into Defendant’s competency. The Court determined

   Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

   and examined Defendant under oath concerning all matters mentioned in Rule 11.

         The Court next inquired of Defendant concerning her understanding of her

   right to have an Article III Judge hear the entry of her guilty plea and her

   understanding of the difference between an Article III Judge and a Magistrate
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 2 of 9 PageID #: 3082




   Judge. Defendant thereafter stated in open court that she voluntarily waived her

   right to have an Article III Judge hear her plea and voluntarily consented to the

   undersigned Magistrate Judge hearing her plea. Defendant tendered to the Court a

   written Waiver of Article III Judge and Consent to Enter Guilty Plea before

   Magistrate   Judge.    The waiver and consent         was   signed by Defendant,

   countersigned by Defendant's counsel, and concurred by the signature of the

   Assistant United States Attorney.

         Upon consideration of the sworn testimony of Defendant, as well as the

   representations of her counsel and the representations of the Government, the

   Court finds that the oral and written waiver of an Article III Judge and consent to

   enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

   Additionally, the Court finds that the written waiver and consent was freely and

   voluntarily executed by Defendant Jayla Shade only after having had her rights fully

   explained to her and having a full understanding of those rights through consultation

   with her counsel, as well as through questioning by the Court.            The Court

   ORDERED the written Waiver and Consent to Enter Guilty Plea before a Magistrate

   Judge filed and made part of the record.

         Thereafter, the Court determined that Defendant's plea was pursuant to a

   written plea agreement, and asked the Government to tender the original to the Court.

   The Court asked counsel for the Government if the agreement was the sole

   agreement offered to Defendant. The Government responded that it was not, and

   counsel for Defendant confirmed the same. Counsel for Defendant further indicated


                                              2
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 3 of 9 PageID #: 3083




   that all of the offers were discussed with Defendant, which Defendant confirmed on

   the record. The Court asked counsel for the Government to summarize the written

   plea agreement. Counsel for Defendant and Defendant stated that the agreement as

   summarized by counsel for the Government was correct and complied with their

   understanding of the agreement. The undersigned further inquired of Defendant

   regarding her understanding of the written plea agreement. Defendant stated she

   understood the terms of the written plea agreement and also stated that it

   contained the whole of her agreement with the Government and no promises or

   representations were made to her by the Government other than those terms

   contained in the written plea agreement. The Court ORDERED the written plea

   agreement filed and made part of the record.

         The undersigned then reviewed with Defendant Count Fifty-Three of the

   Indictment and the elements the Government would have to prove, charging her with

   Fifty-Three in violation of Title. Subsequently, Defendant Jayla Shade pled GUILTY

   to the charge contained in Count Fifty-Three of the Indictment. However, before

   accepting Defendant’s plea, the undersigned inquired of Defendant’s understanding

   of the charges against her, inquired of Defendant’s understanding of the

   consequences of her pleading guilty to the charges, and obtained the factual basis for

   Defendant’s plea.

         The Government proffered a factual basis for the plea       Neither counsel for

   Defendant nor Defendant disputed the proffer when given the opportunity to do so.

   Defendant stated she heard, understood, and did not disagree with the Government's


                                             3
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 4 of 9 PageID #: 3084




   proffer. Additionally, Defendant provided a factual basis for the commission of the

   offense.   The undersigned Magistrate Judge concludes the offense charged in

   Count Fifty-Three of the Indictment is supported by an independent basis in fact

   concerning each of the essential elements of such offense, and that independent

   basis is provided by the Government’s proffer.

         The undersigned then reviewed with Defendant the statutory penalties

   applicable to an individual adjudicated guilty of the felony charge contained in Count

   Fifty-Three of the Indictment and the impact of the sentencing guidelines on

   sentencing in general.     From said review, the undersigned Magistrate Judge

   determined Defendant understood the nature of the charges pending against her and

   that the possible statutory maximum sentence which could be imposed upon her

   conviction or adjudication of guilty on Count Fifty-Three was a term of imprisonment

   of not more than four (4) years.     The undersigned further determined Defendant

   understood a fine of not more than $250,000.00 could be imposed, both fine and

   imprisonment could be imposed, he would be subject to a period of at least three

   (3) years of supervised release, and the Court would impose a special mandatory

   assessment of $100.00 for the felony conviction payable on or before the date of

   sentencing.   Defendant also understood that her sentence could be increased if

   he had a prior firearm offense, violent felony conviction, or prior drug conviction. She

   also understood he might be required by the Court to pay the costs of her

   incarceration, supervision, and probation.

        The undersigned also informed Defendant whether he understood that by


                                                4
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 5 of 9 PageID #: 3085




   pleading guilty he was forfeiting other rights such as right to vote, right to serve on a

   jury, and the right to legally possess a firearm.

        Additionally, the undersigned asked Defendant whether she understood that if

   she were not a citizen of the United States, by pleading guilty to a felony charge she

   would be subject to deportation at the conclusion of any sentence; that she would be

   denied future entry into the United States; and that she would be denied citizenship if

   she ever applied for it. Defendant stated that she understood.

          The undersigned also reviewed with Defendant her waiver of appellate and

   collateral attack rights.   Defendant understood that she was waiving her right to

   appeal her conviction and sentence to the Fourth Circuit Court of Appeals on any

   ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

   Defendant further understood that under her plea agreement, she was waiving her

   right to challenge her conviction and sentence in any post-conviction proceeding,

   including any proceeding under 28 U.S.C. § 2255.               Defendant understood,

   however, that she was reserving the right to raise claims of ineffective assistance of

   counsel or prosecutorial misconduct that she learned about after the plea hearing

   and agreed that she was unaware of any ineffective assistance of counsel or

   prosecutorial misconduct in her case at this time. From the foregoing, the

   undersigned determined that Defendant understood her appellate rights and

   knowingly gave up those rights pursuant to the conditions contained in the written

   plea agreement.

          The undersigned Magistrate Judge further examined Defendant relative to her

   knowledgeable and voluntary execution of the written plea agreement, and
                                               5
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 6 of 9 PageID #: 3086




   determined the entry into said written plea agreement was both knowledgeable and

   voluntary on the part of Defendant.

         The undersigned Magistrate Judge further inquired of Defendant, her

   counsel, and the Government as to the non-binding recommendations and

   stipulations contained in the written plea agreement         and determined     that

   Defendant understood, with respect to the plea agreement and to Defendant's

   entry of a plea of guilty to the felony charge contained in Count Fifty-Three of the

   Indictment. The undersigned Magistrate Judge informed Defendant that he would write

   the subject Report and Recommendation and a pre-sentence investigation report

   w o u l d be prepared by the probation officer attending the District Court. The

   undersigned advised the Defendant that the District Judge would adjudicate the

   Defendant guilty of the felony charged under Count Fifty-Three of the Indictment.

   Only after the District Court had an opportunity to review the pre-sentence

   investigation report, would the District Court make a determination as to whether to

   accept or reject any recommendation or stipulation contained within the plea

   agreement or pre-sentence report. The undersigned reiterated to Defendant that the

   District Judge may not agree with the recommendations or stipulations contained in

   the written agreement. The undersigned Magistrate Judge further advised Defendant,

   in accord with Federal Rule of Criminal Procedure 11, that in the event the District

   Court Judge refused to follow the non-binding recommendations or stipulations

   contained in the written plea agreement and/or sentenced her to a sentence which

   was different from that which she expected, she would not be permitted to withdraw


                                            6
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 7 of 9 PageID #: 3087




   her guilty plea. Defendant and her counsel each acknowledged their understanding

   and Defendant maintained her desire to have her guilty plea accepted.

         Defendant also understood that her actual sentence could not be calculated

   until after a pre-sentence report was prepared and a sentencing hearing conducted.

   The undersigned also advised, and Defendant stated that she understood, that the

   Sentencing Guidelines are no longer mandatory, and that, even if the District Judge

   did not follow the Sentencing Guidelines or sentenced her to a higher sentence than

   she expected, she would not have a right to withdraw her guilty plea. Defendant

   further stated that her attorney showed her how the advisory guideline chart worked

   but did not promise her any specific sentence at the time of sentencing.   Defendant

   stated that she understood her attorney could not predict or promise her what actual

   sentence she would receive from the sentencing judge at the sentencing hearing.

   Defendant further understood there was no parole in the federal system, but that

   she may be able to earn institutional good time, and that good time was not

   controlled by the Court, but by the Federal Bureau of Prisons.

         Defendant, Jayla Shade, with the consent of her counsel, Scott Radman

   proceeded to enter a verbal plea of GUILTY to the felony charge in Count Fifty-

   Three of the Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge

   finds that Defendant is fully competent and capable of entering an informed plea;

   Defendant is aware of and understood her right to have an Article Ill Judge hear and

   accept her plea and elected to voluntarily consent to the undersigned United States


                                            7
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 8 of 9 PageID #: 3088




   Magistrate Judge hearing her plea; Defendant understood the charges against her,

   not only as to the Indictment as a whole, but in particular as to Count Fifty-Three of the

   Indictment; Defendant understood the consequences of her plea of guilty, in

   particular the maximum statutory penalty to which he would be exposed for Count

   Fifty-Three; Defendant made a knowing and voluntary plea of guilty to Count Fifty-

   Three of the Indictment; and Defendant's plea is independently supported by the

   Government’s proffer, which provides, beyond a reasonable doubt, proof of each of

   the essential elements of the charges to which Defendant has pled guilty.

          The undersigned Magistrate Judge therefore recommends Defendant's plea of

   guilty to Count Fifty-Three of the Indictment herein be accepted conditioned upon the

   Court's receipt and review of this Report and Recommendation.

          The undersigned magistrate judge released Defendant on the terms of the

   Order Setting Conditions of Release (Dkt. No. 12) filed on June 8, 2017.

          Any party may, within fourteen (14) days after being served with a copy of this

   Report and Recommendation, file with the Clerk of the Court written objections

   identifying the portions of the Report and Recommendation to which objection is

   made, and the basis for such objection. A copy of such objections should also be

   submitted to the Honorable Irene M. Keeley, United States District Judge.      Failure to

   timely file objections to the Report and Recommendation set forth above will result

   in waiver of the right to appeal from a judgment of this Court based upon such

   report and recommendation.       28 U.S.C. § 636(b)(l); United      States v. Schronce,

   727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,


                                               8
Case 1:17-cr-00032-TSK-MJA Document 788 Filed 12/21/17 Page 9 of 9 PageID #: 3089




   766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and

   Recommendation to counsel of record.


  Respectfully submitted on December 21, 2017




                                           9
